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                                                                                                    INVOICE

                                                                                          From      Public Catalyst
                                                                                                    33 Wood Avenue South
                                                                                                    Suite 600 - #8615
                                                                                                    Iselin, NJ 08830

                                                                                                    FEIN #: XX-XXXXXXX



Invoice ID      Texas M.D. Monitoring 24-05                                          Invoice For    Texas M.D. Monitoring
Issue Date      01/03/2025
Due Date        02/03/2025
Subject         Texas Monitoring Team: December 2024




Item Type       Description                                                              Quantity              Rate          Amount

Service         Texas Permanent Injunction - 12/01/2024 - Project Management &               1.50          $425.00          $637.50
                Planning / Kevin Ryan

Service         Texas Permanent Injunction - 12/01/2024 - Report and Document                2.50          $425.00         $1,062.50
                Preparation / Kevin Ryan

Service         Texas Permanent Injunction - 12/01/2024 - Document                           1.00          $395.00          $395.00
                Review/Data Analysis/Verification Work / David Howard

Service         Texas Permanent Injunction - 12/02/2024 - Communication or                   1.00          $325.00          $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
                Weber

Service         Texas Permanent Injunction - 12/02/2024 - Communication or                   1.50          $325.00          $487.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
                Weber

Service         Texas Permanent Injunction - 12/02/2024 - Communication or                   1.25          $250.00          $312.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
                Nunez

Service         Texas Permanent Injunction - 12/02/2024 - Document                           3.50          $395.00         $1,382.50
                Review/Data Analysis/Verification Work / Robin Dunn

Service         Texas Permanent Injunction - 12/02/2024 - Communication or                   1.00          $250.00          $250.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
                Maita-Edwards

Service         Texas Permanent Injunction - 12/02/2024 - Document                           3.50          $395.00         $1,382.50
                Review/Data Analysis/Verification Work / Robin Dunn

Service         Texas Permanent Injunction - 12/02/2024 - Communication or                   1.00          $250.00          $250.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
                Maita-Edwards

Service         Texas Permanent Injunction - 12/02/2024 - Document                           3.00          $250.00          $750.00
                Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service         Texas Permanent Injunction - 12/02/2024 - Communication or                   1.00          $395.00          $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
                Paveglio


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Service         Texas Permanent Injunction - 12/02/2024 - Communication or           0.50         $250.00       $125.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
                Nunez

Service         Texas Permanent Injunction - 12/02/2024 - Project Management &       1.75         $395.00       $691.25
                Planning / Lisa Taylor

Service         Texas Permanent Injunction - 12/02/2024 - Document                   3.00         $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Nadia Sexton

Service         Texas Permanent Injunction - 12/02/2024 - Document                   4.00         $395.00      $1,580.00
                Review/Data Analysis/Verification Work / Nadia Sexton

Service         Texas Permanent Injunction - 12/02/2024 - Document                   3.50         $250.00       $875.00
                Review/Data Analysis/Verification Work / Natalie Nunez

Service         Texas Permanent Injunction - 12/02/2024 - Document                   1.75         $250.00       $437.50
                Review/Data Analysis/Verification Work / Natalie Nunez

Service         Texas Permanent Injunction - 12/02/2024 - Document                   2.00         $250.00       $500.00
                Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service         Texas Permanent Injunction - 12/02/2024 - Project Management &       0.50         $425.00       $212.50
                Planning / Kevin Ryan

Service         Texas Permanent Injunction - 12/02/2024 - Communication or           0.25         $425.00       $106.25
                Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
                Ryan

Service         Texas Permanent Injunction - 12/02/2024 - Report and Document        1.25         $425.00       $531.25
                Preparation / Kevin Ryan

Service         Texas Permanent Injunction - 12/02/2024 - Communication or           1.50         $395.00       $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
                Annitto

Service         Texas Permanent Injunction - 12/02/2024 - Document                   4.00         $395.00      $1,580.00
                Review/Data Analysis/Verification Work / Megan Annitto

Service         Texas Permanent Injunction - 12/02/2024 - Document                   0.25         $395.00           $98.75
                Review/Data Analysis/Verification Work / David Howard

Service         Texas Permanent Injunction - 12/02/2024 - Document                   1.00         $395.00       $395.00
                Review/Data Analysis/Verification Work / David Howard

Service         Texas Permanent Injunction - 12/02/2024 - Document                   4.50         $325.00      $1,462.50
                Review/Data Analysis/Verification Work / Melea Weber

Service         Texas Permanent Injunction - 12/02/2024 - Communication or           1.50         $395.00       $592.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
                Annitto

Service         Texas Permanent Injunction - 12/02/2024 -                            2.00         $395.00       $790.00
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information / Jenny
                Paveglio

Service         Texas Permanent Injunction - 12/02/2024 - Document                   2.25         $120.00       $270.00
                Review/Data Analysis/Verification Work / Daisy Longoria

Service         Texas Permanent Injunction - 12/02/2024 - Document                   3.50         $120.00       $420.00
                Review/Data Analysis/Verification Work / Daisy Longoria




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Service         Texas Permanent Injunction - 12/02/2024 - Report and Document        2.75         $395.00      $1,086.25
                Preparation / Jill Lefkowitz

Service         Texas Permanent Injunction - 12/02/2024 - Document                   1.50         $120.00       $180.00
                Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.50         $395.00       $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
                Dunn

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.50         $395.00       $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
                Paveglio

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.50         $395.00       $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.25         $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas

Service         Texas Permanent Injunction - 12/03/2024 - Document                   1.00         $395.00       $395.00
                Review/Data Analysis/Verification Work / Charmaine Thomas

Service         Texas Permanent Injunction - 12/03/2024 - Document                   3.00         $250.00       $750.00
                Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service         Texas Permanent Injunction - 12/03/2024 - Document                   2.25         $250.00       $562.50
                Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.75         $250.00       $187.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
                Maita-Edwards

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.75         $250.00       $187.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
                Maita-Edwards

Service         Texas Permanent Injunction - 12/03/2024 - Document                   0.50         $425.00       $212.50
                Review/Data Analysis/Verification Work / Kevin Ryan

Service         Texas Permanent Injunction - 12/03/2024 - Document                   2.25         $425.00       $956.25
                Review/Data Analysis/Verification Work / Kevin Ryan

Service         Texas Permanent Injunction - 12/03/2024 - Report and Document        2.00         $425.00       $850.00
                Preparation / Kevin Ryan

Service         Texas Permanent Injunction - 12/03/2024 - Document                   2.75         $395.00      $1,086.25
                Review/Data Analysis/Verification Work / Robin Dunn

Service         Texas Permanent Injunction - 12/03/2024 - Document                   3.50         $395.00      $1,382.50
                Review/Data Analysis/Verification Work / Robin Dunn

Service         Texas Permanent Injunction - 12/03/2024 - Document                   2.25         $395.00       $888.75
                Review/Data Analysis/Verification Work / Charmaine Thomas

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.75         $325.00       $243.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
                Weber




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Service         Texas Permanent Injunction - 12/03/2024 - Communication or            1.00        $325.00       $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
                Weber

Service         Texas Permanent Injunction - 12/03/2024 - Document                    5.25        $325.00      $1,706.25
                Review/Data Analysis/Verification Work / Melea Weber

Service         Texas Permanent Injunction - 12/03/2024 - Communication or            0.25        $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
                Dunn

Service         Texas Permanent Injunction - 12/03/2024 - Document                    3.00        $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Nadia Sexton

Service         Texas Permanent Injunction - 12/03/2024 - Document                    1.00        $395.00       $395.00
                Review/Data Analysis/Verification Work / Nadia Sexton

Service         Texas Permanent Injunction - 12/03/2024 - Document                    3.00        $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Nadia Sexton

Service         Texas Permanent Injunction - 12/03/2024 - Document                    3.50        $250.00       $875.00
                Review/Data Analysis/Verification Work / Natalie Nunez

Service         Texas Permanent Injunction - 12/03/2024 - Document                    3.50        $250.00       $875.00
                Review/Data Analysis/Verification Work / Natalie Nunez

Service         Texas Permanent Injunction - 12/03/2024 - Communication or            0.25        $250.00           $62.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
                Maita-Edwards

Service         Texas Permanent Injunction - 12/03/2024 - Communication or            0.50        $395.00       $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Charlene
                Womack

Service         Texas Permanent Injunction - 12/03/2024 - Communication or            0.25        $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Charlene
                Womack

Service         Texas Permanent Injunction - 12/03/2024 - Document                    2.50        $395.00       $987.50
                Review/Data Analysis/Verification Work / Charlene Womack

Service         Texas Permanent Injunction - 12/03/2024 - Document                    2.50        $395.00       $987.50
                Review/Data Analysis/Verification Work / Charlene Womack

Service         Texas Permanent Injunction - 12/03/2024 - Document                    1.25        $395.00       $493.75
                Review/Data Analysis/Verification Work / Charlene Womack

Service         Texas Permanent Injunction - 12/03/2024 - Document                    3.50        $395.00      $1,382.50
                Review/Data Analysis/Verification Work / Charmaine Thomas

Service         Texas Permanent Injunction - 12/03/2024 - Communication or            0.50        $395.00       $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Claudia
                Tahan

Service         Texas Permanent Injunction - 12/03/2024 - Document                    3.00        $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/03/2024 - Document                    3.50        $395.00      $1,382.50
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/03/2024 - Document                    3.00        $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Cheryl MacDougall




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Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.50         $395.00       $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Aileen
                Williams

Service         Texas Permanent Injunction - 12/03/2024 - Document                   3.00         $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Aileen Williams

Service         Texas Permanent Injunction - 12/03/2024 - Document                   3.50         $395.00      $1,382.50
                Review/Data Analysis/Verification Work / Aileen Williams

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           1.00         $395.00       $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
                Annitto

Service         Texas Permanent Injunction - 12/03/2024 - Report and Document        4.00         $395.00      $1,580.00
                Preparation / Megan Annitto

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           1.25         $395.00       $493.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
                Annitto

Service         Texas Permanent Injunction - 12/03/2024 - Document                   0.75         $395.00       $296.25
                Review/Data Analysis/Verification Work / Megan Annitto

Service         Texas Permanent Injunction - 12/03/2024 - Document                   3.00         $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/03/2024 - Document                   2.50         $395.00       $987.50
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/03/2024 - Document                   1.50         $395.00       $592.50
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.50         $395.00       $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jody
                Drebes

Service         Texas Permanent Injunction - 12/03/2024 - Communication or           0.25         $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas

Service         Texas Permanent Injunction - 12/03/2024 -                            4.50         $395.00      $1,777.50
                Addressing/managing/attempting to resolve DFPS/HHSC
                technology challenges or barriers to data and information / Jenny
                Paveglio

Service         Texas Permanent Injunction - 12/03/2024 - Document                   1.75         $120.00       $210.00
                Review/Data Analysis/Verification Work / Daisy Longoria

Service         Texas Permanent Injunction - 12/03/2024 - Document                   0.25         $120.00           $30.00
                Review/Data Analysis/Verification Work / Daisy Longoria

Service         Texas Permanent Injunction - 12/03/2024 - Report and Document        1.25         $395.00       $493.75
                Preparation / Jill Lefkowitz

Service         Texas Permanent Injunction - 12/04/2024 - Communication or           0.25         $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas

Service         Texas Permanent Injunction - 12/04/2024 - Communication or           0.50         $250.00       $125.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
                Nunez




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Service         Texas Permanent Injunction - 12/04/2024 - Document                    3.00        $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Charmaine Thomas

Service         Texas Permanent Injunction - 12/04/2024 - Document                    1.00        $395.00       $395.00
                Review/Data Analysis/Verification Work / Charmaine Thomas

Service         Texas Permanent Injunction - 12/04/2024 - Document                    2.50        $395.00       $987.50
                Review/Data Analysis/Verification Work / Charmaine Thomas

Service         Texas Permanent Injunction - 12/04/2024 - Communication or            0.75        $250.00       $187.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
                Maita-Edwards

Service         Texas Permanent Injunction - 12/04/2024 - Report and Document         3.25        $250.00       $812.50
                Preparation / Gianna Maita-Edwards

Service         Texas Permanent Injunction - 12/04/2024 - Document                    3.00        $250.00       $750.00
                Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service         Texas Permanent Injunction - 12/04/2024 - Document                    1.00        $395.00       $395.00
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/04/2024 - Document                    1.00        $395.00       $395.00
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/04/2024 - Document                    1.00        $395.00       $395.00
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/04/2024 - Document                    1.00        $395.00       $395.00
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/04/2024 - Document                    1.00        $395.00       $395.00
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/04/2024 - Document                    2.00        $395.00       $790.00
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/04/2024 - Document                    4.00        $395.00      $1,580.00
                Review/Data Analysis/Verification Work / Nadia Sexton

Service         Texas Permanent Injunction - 12/04/2024 - Document                    3.00        $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Nadia Sexton

Service         Texas Permanent Injunction - 12/04/2024 - Communication or            2.75        $395.00      $1,086.25
                Meeting with the Court, a party, Monitor/Monitors' Staff / Cheryl
                MacDougall

Service         Texas Permanent Injunction - 12/04/2024 - Document                    2.25        $395.00       $888.75
                Review/Data Analysis/Verification Work / Cheryl MacDougall

Service         Texas Permanent Injunction - 12/04/2024 - Document                    2.00        $395.00       $790.00
                Review/Data Analysis/Verification Work / Cheryl MacDougall

Service         Texas Permanent Injunction - 12/04/2024 - Communication or            0.25        $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Charlene
                Womack

Service         Texas Permanent Injunction - 12/04/2024 - Document                    2.25        $395.00       $888.75
                Review/Data Analysis/Verification Work / Charlene Womack

Service         Texas Permanent Injunction - 12/04/2024 - Document                    2.50        $395.00       $987.50
                Review/Data Analysis/Verification Work / Charlene Womack



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Service         Texas Permanent Injunction - 12/04/2024 - Document                   2.00         $395.00       $790.00
                Review/Data Analysis/Verification Work / Charlene Womack

Service         Texas Permanent Injunction - 12/04/2024 - Document                   2.75         $395.00      $1,086.25
                Review/Data Analysis/Verification Work / Aileen Williams

Service         Texas Permanent Injunction - 12/04/2024 - Document                   4.25         $395.00      $1,678.75
                Review/Data Analysis/Verification Work / Aileen Williams

Service         Texas Permanent Injunction - 12/04/2024 - Document                   3.50         $250.00       $875.00
                Review/Data Analysis/Verification Work / Natalie Nunez

Service         Texas Permanent Injunction - 12/04/2024 - Document                   3.00         $250.00       $750.00
                Review/Data Analysis/Verification Work / Natalie Nunez

Service         Texas Permanent Injunction - 12/04/2024 - Communication or           1.00         $395.00       $395.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
                Annitto

Service         Texas Permanent Injunction - 12/04/2024 - Report and Document        4.00         $395.00      $1,580.00
                Preparation / Megan Annitto

Service         Texas Permanent Injunction - 12/04/2024 - Document                   2.00         $395.00       $790.00
                Review/Data Analysis/Verification Work / Megan Annitto

Service         Texas Permanent Injunction - 12/04/2024 - Document                   3.50         $395.00      $1,382.50
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/04/2024 - Document                   2.75         $395.00      $1,086.25
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/04/2024 - Document                   1.00         $395.00       $395.00
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/04/2024 - Communication or           0.75         $425.00       $318.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
                Ryan

Service         Texas Permanent Injunction - 12/04/2024 - Report and Document        3.75         $425.00      $1,593.75
                Preparation / Kevin Ryan

Service         Texas Permanent Injunction - 12/04/2024 - Document                   7.00         $395.00      $2,765.00
                Review/Data Analysis/Verification Work / Jenny Paveglio

Service         Texas Permanent Injunction - 12/04/2024 - Document                   3.50         $395.00      $1,382.50
                Review/Data Analysis/Verification Work / Robin Dunn

Service         Texas Permanent Injunction - 12/04/2024 - Document                   3.50         $395.00      $1,382.50
                Review/Data Analysis/Verification Work / Robin Dunn

Service         Texas Permanent Injunction - 12/04/2024 - Communication or           1.00         $325.00       $325.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
                Weber

Service         Texas Permanent Injunction - 12/04/2024 - Document                   2.50         $325.00       $812.50
                Review/Data Analysis/Verification Work / Melea Weber

Service         Texas Permanent Injunction - 12/04/2024 - Document                   3.00         $325.00       $975.00
                Review/Data Analysis/Verification Work / Melea Weber

Service         Texas Permanent Injunction - 12/04/2024 - Communication or           0.50         $325.00       $162.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
                Weber


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Service         Texas Permanent Injunction - 12/04/2024 - Communication or           0.25         $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jill
                Lefkowitz

Service         Texas Permanent Injunction - 12/04/2024 - Report and Document        1.50         $395.00       $592.50
                Preparation / Jill Lefkowitz

Service         Texas Permanent Injunction - 12/04/2024 - Document                   0.50         $120.00           $60.00
                Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service         Texas Permanent Injunction - 12/04/2024 - Communication or           0.25         $120.00           $30.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Daisy
                Longoria

Service         Texas Permanent Injunction - 12/04/2024 - Document                   2.00         $120.00       $240.00
                Review/Data Analysis/Verification Work / Daisy Longoria

Service         Texas Permanent Injunction - 12/04/2024 - Document                   1.50         $250.00       $375.00
                Review/Data Analysis/Verification Work / Gabrielle Steinwachs

Service         Texas Permanent Injunction - 12/05/2024 - Communication or           0.75         $395.00       $296.25
                Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
                Annitto

Service         Texas Permanent Injunction - 12/05/2024 - Communication or           0.75         $325.00       $243.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
                Weber

Service         Texas Permanent Injunction - 12/05/2024 - Communication or           1.00         $250.00       $250.00
                Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
                Maita-Edwards

Service         Texas Permanent Injunction - 12/05/2024 - Document                   4.00         $250.00      $1,000.00
                Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service         Texas Permanent Injunction - 12/05/2024 - Document                   2.00         $250.00       $500.00
                Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service         Texas Permanent Injunction - 12/05/2024 - Report and Document        3.00         $395.00      $1,185.00
                Preparation / Megan Annitto

Service         Texas Permanent Injunction - 12/05/2024 - Communication or           2.75         $395.00      $1,086.25
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas

Service         Texas Permanent Injunction - 12/05/2024 - Communication or           0.50         $395.00       $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
                Annitto

Service         Texas Permanent Injunction - 12/05/2024 - Communication or           0.25         $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas

Service         Texas Permanent Injunction - 12/05/2024 - Communication or           0.50         $395.00       $197.50
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas

Service         Texas Permanent Injunction - 12/05/2024 - Communication or           0.25         $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff /
                Charmaine Thomas

Service         Texas Permanent Injunction - 12/05/2024 - Document                   3.50         $395.00      $1,382.50
                Review/Data Analysis/Verification Work / Claudia Tahan



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Service         Texas Permanent Injunction - 12/05/2024 - Document                    2.50        $395.00       $987.50
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/05/2024 - Document                    1.00        $395.00       $395.00
                Review/Data Analysis/Verification Work / Claudia Tahan

Service         Texas Permanent Injunction - 12/05/2024 - Document                    3.00        $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Charmaine Thomas

Service         Texas Permanent Injunction - 12/05/2024 - Document                    1.00        $395.00       $395.00
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/05/2024 - Communication or            0.25        $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Jody
                Drebes

Service         Texas Permanent Injunction - 12/05/2024 - Document                    1.25        $395.00       $493.75
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/05/2024 - Document                    1.25        $395.00       $493.75
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/05/2024 - Document                    2.50        $395.00       $987.50
                Review/Data Analysis/Verification Work / Jody Drebes

Service         Texas Permanent Injunction - 12/05/2024 - Document                    4.00        $395.00      $1,580.00
                Review/Data Analysis/Verification Work / Nadia Sexton

Service         Texas Permanent Injunction - 12/05/2024 - Document                    3.00        $395.00      $1,185.00
                Review/Data Analysis/Verification Work / Nadia Sexton

Service         Texas Permanent Injunction - 12/05/2024 - Communication or            2.75        $395.00      $1,086.25
                Meeting with the Court, a party, Monitor/Monitors' Staff / Cheryl
                MacDougall

Service         Texas Permanent Injunction - 12/05/2024 - Document                    2.50        $395.00       $987.50
                Review/Data Analysis/Verification Work / Cheryl MacDougall

Service         Texas Permanent Injunction - 12/05/2024 - Document                    1.50        $395.00       $592.50
                Review/Data Analysis/Verification Work / Cheryl MacDougall

Service         Texas Permanent Injunction - 12/05/2024 - Document                    1.75        $395.00       $691.25
                Review/Data Analysis/Verification Work / Cheryl MacDougall

Service         Texas Permanent Injunction - 12/05/2024 - Report and Document         2.00        $425.00       $850.00
                Preparation / Kevin Ryan

Service         Texas Permanent Injunction - 12/05/2024 - Document                    3.50        $250.00       $875.00
                Review/Data Analysis/Verification Work / Natalie Nunez

Service         Texas Permanent Injunction - 12/05/2024 - Document                    3.50        $250.00       $875.00
                Review/Data Analysis/Verification Work / Natalie Nunez

Service         Texas Permanent Injunction - 12/05/2024 - Document                    1.50        $395.00       $592.50
                Review/Data Analysis/Verification Work / Charlene Womack

Service         Texas Permanent Injunction - 12/05/2024 - Communication or            0.25        $395.00           $98.75
                Meeting with the Court, a party, Monitor/Monitors' Staff / Charlene
                Womack

Service         Texas Permanent Injunction - 12/05/2024 - Document                    3.75        $395.00      $1,481.25
                Review/Data Analysis/Verification Work / Charlene Womack



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Service      Texas Permanent Injunction - 12/05/2024 - Document                 1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/05/2024 - Document                 7.00         $395.00     $2,765.00
             Review/Data Analysis/Verification Work / Jenny Paveglio

Service      Texas Permanent Injunction - 12/05/2024 - Document                 3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/05/2024 - Document                 3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/05/2024 - Document                 0.75         $395.00       $296.25
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/05/2024 - Document                 3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/05/2024 - Document                 3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/05/2024 - Document                 4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/05/2024 - Document                 2.25         $325.00       $731.25
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/05/2024 - Communication or         1.75         $395.00       $691.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/05/2024 - Document                 1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/05/2024 - Document                 3.00         $120.00       $360.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service      Texas Permanent Injunction - 12/05/2024 - Document                 1.50         $120.00       $180.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service      Texas Permanent Injunction - 12/05/2024 - Document                 0.25         $120.00        $30.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/05/2024 - Document                 2.25         $120.00       $270.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/05/2024 - Document                 1.00         $120.00       $120.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/05/2024 - Report and Document      1.50         $395.00       $592.50
             Preparation / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/05/2024 -                          0.25         $250.00        $62.50
             Addressing/managing/attempting to resolve DFPS/HHSC
             technology challenges to barriers to data and information /
             Samantha Loewen

Service      Texas Permanent Injunction - 12/06/2024 - Document                 4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Jenny Paveglio

Service      Texas Permanent Injunction - 12/06/2024 - Document                 1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / Charmaine Thomas



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Service      Texas Permanent Injunction - 12/06/2024 - Document                   4.00        $250.00     $1,000.00
             Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service      Texas Permanent Injunction - 12/06/2024 - Communication or           1.00        $250.00       $250.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards

Service      Texas Permanent Injunction - 12/06/2024 - Document                   2.00        $250.00       $500.00
             Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service      Texas Permanent Injunction - 12/06/2024 - Document                   3.75        $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/06/2024 - Communication or           0.25        $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/06/2024 - Communication or           0.75        $325.00       $243.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/06/2024 - Document                   1.50        $395.00       $592.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/06/2024 - Document                   0.50        $395.00       $197.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/06/2024 - Document                   0.50        $395.00       $197.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/06/2024 - Communication or           0.75        $250.00       $187.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
             Nunez

Service      Texas Permanent Injunction - 12/06/2024 - Document                   3.00        $250.00       $750.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/06/2024 - Document                   3.25        $250.00       $812.50
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/06/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/06/2024 - Document                   3.25        $395.00     $1,283.75
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/06/2024 - Communication or           0.25        $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Aileen
             Williams

Service      Texas Permanent Injunction - 12/06/2024 - Document                   3.00        $325.00       $975.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/06/2024 - Document                   2.25        $325.00       $731.25
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/06/2024 - Communication or           1.00        $325.00       $325.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/06/2024 - Document                   3.75        $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Megan Annitto




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Service      Texas Permanent Injunction - 12/06/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/06/2024 - Communication or          1.25         $395.00       $493.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/06/2024 - Document                  0.75         $120.00        $90.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service      Texas Permanent Injunction - 12/06/2024 - Document                  1.50         $120.00       $180.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service      Texas Permanent Injunction - 12/06/2024 - Document                  0.75         $120.00        $90.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/06/2024 - Document                  0.50         $120.00        $60.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/06/2024 - Document                  0.25         $120.00        $30.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/06/2024 - Document                  1.75         $120.00       $210.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/06/2024 - Document                  1.00         $120.00       $120.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/06/2024 - Document                  0.75         $395.00       $296.25
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/06/2024 - Report and Document       1.00         $395.00       $395.00
             Preparation / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/07/2024 - Project Management &      0.25         $395.00        $98.75
             Planning / Lisa Taylor

Service      Texas Permanent Injunction - 12/08/2024 - Report and Document       4.00         $425.00     $1,700.00
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/08/2024 - Document                  1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/09/2024 - Communication or          1.25         $325.00       $406.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/09/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/09/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/09/2024 - Communication or          1.25         $395.00       $493.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/09/2024 - Report and Document       2.00         $395.00       $790.00
             Preparation / Megan Annitto

Service      Texas Permanent Injunction - 12/09/2024 - Communication or          1.50         $395.00       $592.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto


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Service      Texas Permanent Injunction - 12/09/2024 - Document                  1.75         $395.00       $691.25
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/09/2024 - Document                  1.25         $395.00       $493.75
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/09/2024 - Document                  1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/09/2024 - Document                  3.00         $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/09/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/09/2024 - Report and Document       2.25         $425.00       $956.25
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/09/2024 - Document                  0.75         $395.00       $296.25
             Review/Data Analysis/Verification Work / Diane Scott

Service      Texas Permanent Injunction - 12/09/2024 - Communication or          0.25         $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
             Scott

Service      Texas Permanent Injunction - 12/09/2024 - Document                  2.25         $250.00       $562.50
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/09/2024 - Document                  3.00         $250.00       $750.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/09/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/09/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/09/2024 - Document                  0.25         $395.00        $98.75
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/09/2024 - Document                  1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/09/2024 - Document                  0.50         $395.00       $197.50
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/09/2024 - Document                  0.50         $395.00       $197.50
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/09/2024 - Document                  1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/09/2024 - Document                  1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/09/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/09/2024 - Document                  1.25         $325.00       $406.25
             Review/Data Analysis/Verification Work / Melea Weber




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Service      Texas Permanent Injunction - 12/09/2024 - Communication or            0.25       $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Carlette
             Mack

Service      Texas Permanent Injunction - 12/09/2024 - Communication or            1.25       $250.00       $312.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
             Nunez

Service      Texas Permanent Injunction - 12/09/2024 - Communication or            0.25       $120.00        $30.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Zsa Zsa
             Toms

Service      Texas Permanent Injunction - 12/09/2024 - Document                    2.25       $120.00       $270.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service      Texas Permanent Injunction - 12/09/2024 - Communication or            0.25       $250.00        $62.50
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Samantha Loewen

Service      Texas Permanent Injunction - 12/09/2024 - Document                    0.50       $120.00        $60.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/09/2024 - Communication or            0.25       $120.00        $30.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Daisy
             Longoria

Service      Texas Permanent Injunction - 12/09/2024 - Document                    2.75       $120.00       $330.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/09/2024 - Report and Document         1.75       $120.00       $210.00
             Preparation / Daisy Longoria

Service      Texas Permanent Injunction - 12/09/2024 - Report and Document         1.00       $395.00       $395.00
             Preparation / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/09/2024 - Document                    1.25       $395.00       $493.75
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/09/2024 - Document                    1.00       $120.00       $120.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service      Texas Permanent Injunction - 12/10/2024 - Communication or            0.75       $395.00       $296.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Jenny
             Paveglio

Service      Texas Permanent Injunction - 12/10/2024 - Communication or            0.75       $395.00       $296.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Charlene
             Womack

Service      Texas Permanent Injunction - 12/10/2024 - Document                    3.75       $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/10/2024 - Communication or            0.75       $395.00       $296.25
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/10/2024 - Report and Document         4.00       $425.00     $1,700.00
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/10/2024 - Communication or            0.25       $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Claudia
             Tahan




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Service      Texas Permanent Injunction - 12/10/2024 - Communication or           0.75        $395.00       $296.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Claudia
             Tahan

Service      Texas Permanent Injunction - 12/10/2024 - Document                   2.00        $395.00       $790.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/10/2024 - Document                   1.00        $395.00       $395.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/10/2024 - Document                   1.50        $395.00       $592.50
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/10/2024 - Document                   1.50        $395.00       $592.50
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/10/2024 - Communication or           0.25        $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/10/2024 - Document                   2.00        $395.00       $790.00
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/10/2024 - Document                   4.00        $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/10/2024 - Document                   3.00        $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/10/2024 - Communication or           0.50        $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
             Scott

Service      Texas Permanent Injunction - 12/10/2024 - Document                   0.50        $395.00       $197.50
             Review/Data Analysis/Verification Work / Diane Scott

Service      Texas Permanent Injunction - 12/10/2024 - Communication or           0.50        $250.00       $125.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
             Nunez

Service      Texas Permanent Injunction - 12/10/2024 - Document                   3.50        $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/10/2024 - Document                   3.00        $250.00       $750.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/10/2024 - Communication or           1.00        $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/10/2024 - Communication or           1.75        $395.00       $691.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/10/2024 - Document                   3.25        $395.00     $1,283.75
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/10/2024 - Report and Document        1.00        $395.00       $395.00
             Preparation / Megan Annitto

Service      Texas Permanent Injunction - 12/10/2024 - Document                   3.75        $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charlene Womack




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Service      Texas Permanent Injunction - 12/10/2024 - Document                  2.50         $395.00       $987.50
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/10/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/10/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/10/2024 - Document                  0.75         $395.00       $296.25
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/10/2024 - Communication or          0.75         $395.00       $296.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
             Dunn

Service      Texas Permanent Injunction - 12/10/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/10/2024 - Document                  6.25         $395.00     $2,468.75
             Review/Data Analysis/Verification Work / Jenny Paveglio

Service      Texas Permanent Injunction - 12/10/2024 - Communication or          0.75         $395.00       $296.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Aileen
             Williams

Service      Texas Permanent Injunction - 12/10/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/10/2024 - Document                  2.75         $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/10/2024 - Communication or          0.75         $395.00       $296.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Jody
             Drebes

Service      Texas Permanent Injunction - 12/10/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/10/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/10/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/10/2024 - Document                  2.75         $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/10/2024 - Document                  0.75         $395.00       $296.25
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/10/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / David
             Howard

Service      Texas Permanent Injunction - 12/10/2024 - Document                  1.25         $395.00       $493.75
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/10/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/10/2024 - Document                  1.50         $325.00       $487.50
             Review/Data Analysis/Verification Work / Melea Weber


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Service      Texas Permanent Injunction - 12/10/2024 - Communication or            0.50       $325.00       $162.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/10/2024 - Communication or            1.00       $325.00       $325.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/10/2024 - Communication or            0.50       $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Carlette
             Mack

Service      Texas Permanent Injunction - 12/10/2024 - Document                    0.25       $395.00        $98.75
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/10/2024 - Document                    2.00       $120.00       $240.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service      Texas Permanent Injunction - 12/10/2024 - Document                    2.25       $120.00       $270.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/10/2024 - Document                    2.25       $395.00       $888.75
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/10/2024 - Communication or            1.00       $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Jill
             Lefkowitz

Service      Texas Permanent Injunction - 12/11/2024 - Communication or            0.25       $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/11/2024 - Report and Document         1.50       $395.00       $592.50
             Preparation / Megan Annitto

Service      Texas Permanent Injunction - 12/11/2024 - Document                    3.50       $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/11/2024 - Document                    3.50       $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/11/2024 - Document                    7.00       $395.00     $2,765.00
             Review/Data Analysis/Verification Work / Jenny Paveglio

Service      Texas Permanent Injunction - 12/11/2024 - Document                    3.75       $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/11/2024 - Communication or            0.50       $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/11/2024 - Document                    2.75       $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/11/2024 - Document                    3.00       $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/11/2024 - Document                    2.00       $395.00       $790.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/11/2024 - Document                    1.50       $395.00       $592.50
             Review/Data Analysis/Verification Work / Claudia Tahan




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Service      Texas Permanent Injunction - 12/11/2024 - Communication or           0.50        $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Claudia
             Tahan

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.00        $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/11/2024 - Document                   4.00        $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/11/2024 - Report and Document        4.00        $425.00     $1,700.00
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/11/2024 - Document                   0.50        $425.00       $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/11/2024 - Document                   0.50        $425.00       $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/11/2024 - Communication or           0.25        $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/11/2024 - Document                   2.25        $395.00       $888.75
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.50        $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.25        $250.00       $812.50
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/11/2024 - Communication or           0.25        $250.00        $62.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
             Nunez

Service      Texas Permanent Injunction - 12/11/2024 - Document                   2.50        $395.00       $987.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/11/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/11/2024 - Communication or           1.75        $395.00       $691.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto


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Service      Texas Permanent Injunction - 12/11/2024 - Communication or          0.25         $325.00        $81.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/11/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/11/2024 - Document                  2.50         $325.00       $812.50
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/11/2024 - Communication or          0.25         $325.00        $81.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/11/2024 - Communication or          0.25         $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
             Scott

Service      Texas Permanent Injunction - 12/11/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/11/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Jill
             Lefkowitz

Service      Texas Permanent Injunction - 12/11/2024 - Document                  0.25         $395.00        $98.75
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/11/2024 - Document                  0.50         $120.00        $60.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/11/2024 - Communication or          0.50         $120.00        $60.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Daisy
             Longoria

Service      Texas Permanent Injunction - 12/11/2024 - Document                  0.50         $120.00        $60.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/11/2024 - Document                  0.50         $120.00        $60.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/11/2024 - Document                  2.25         $120.00       $270.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/12/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/12/2024 - Communication or          0.25         $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/12/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/12/2024 - Communication or          0.25         $325.00        $81.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/12/2024 - Document                  3.75         $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas




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Service      Texas Permanent Injunction - 12/12/2024 - Communication or           0.25        $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/12/2024 - Communication or           0.25        $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/12/2024 - Document                   4.00        $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/12/2024 - Document                   3.00        $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/12/2024 - Communication or           0.25        $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Claudia
             Tahan

Service      Texas Permanent Injunction - 12/12/2024 - Document                   2.75        $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/12/2024 - Document                   2.00        $395.00       $790.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/12/2024 - Document                   2.00        $395.00       $790.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/12/2024 - Report and Document        3.75        $425.00     $1,593.75
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/12/2024 - Document                   4.00        $425.00     $1,700.00
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/12/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/12/2024 - Document                   1.75        $395.00       $691.25
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/12/2024 - Document                   2.00        $395.00       $790.00
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/12/2024 - Document                   4.00        $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/12/2024 - Document                   0.75        $395.00       $296.25
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/12/2024 - Document                   2.75        $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/12/2024 - Document                   3.50        $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/12/2024 - Document                   3.50        $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/12/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/12/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Charlene Womack



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Service      Texas Permanent Injunction - 12/12/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/12/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/12/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Aileen Williams

Service      Texas Permanent Injunction - 12/12/2024 - Document                  0.75         $395.00       $296.25
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/12/2024 - Document                  7.00         $395.00     $2,765.00
             Review/Data Analysis/Verification Work / Jenny Paveglio

Service      Texas Permanent Injunction - 12/12/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/12/2024 - Document                  2.75         $325.00       $893.75
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/12/2024 - Communication or          2.00         $395.00       $790.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/12/2024 - Document                  1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/12/2024 - Document                  3.25         $250.00       $812.50
             Review/Data Analysis/Verification Work / Samantha Loewen

Service      Texas Permanent Injunction - 12/12/2024 - Document                  2.50         $250.00       $625.00
             Review/Data Analysis/Verification Work / June Simon

Service      Texas Permanent Injunction - 12/12/2024 - Document                  2.25         $250.00       $562.50
             Review/Data Analysis/Verification Work / June Simon

Service      Texas Permanent Injunction - 12/12/2024 - Report and Document       0.25         $395.00        $98.75
             Preparation / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/12/2024 - Document                  0.25         $395.00        $98.75
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/12/2024 - Document                  2.75         $120.00       $330.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/12/2024 - Document                  0.50         $250.00       $125.00
             Review/Data Analysis/Verification Work / Gabrielle Steinwachs

Service      Texas Permanent Injunction - 12/12/2024 - Document                  0.50         $250.00       $125.00
             Review/Data Analysis/Verification Work / Gabrielle Steinwachs

Service      Texas Permanent Injunction - 12/13/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/13/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/13/2024 - Report and Document       3.25         $425.00     $1,381.25
             Preparation / Kevin Ryan




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Service      Texas Permanent Injunction - 12/13/2024 - Communication or          0.25         $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/13/2024 - Project Management &      1.00         $395.00       $395.00
             Planning / Lisa Taylor

Service      Texas Permanent Injunction - 12/13/2024 - Communication or          0.25         $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/13/2024 - Document                  0.75         $425.00       $318.75
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/13/2024 - Communication or          1.25         $425.00       $531.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/13/2024 - Communication or          1.25         $395.00       $493.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Lisa
             Taylor

Service      Texas Permanent Injunction - 12/13/2024 - Document                  3.50         $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/13/2024 - Document                  3.50         $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/13/2024 - Communication or          1.75         $395.00       $691.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/13/2024 - Report and Document       0.75         $395.00       $296.25
             Preparation / Megan Annitto

Service      Texas Permanent Injunction - 12/13/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/13/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/13/2024 - Document                  7.00         $395.00     $2,765.00
             Review/Data Analysis/Verification Work / Jenny Paveglio

Service      Texas Permanent Injunction - 12/13/2024 - Communication or          0.75         $325.00       $243.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/13/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/13/2024 - Document                  2.25         $325.00       $731.25
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/13/2024 - Document                  0.75         $395.00       $296.25
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/13/2024 - Document                  0.50         $395.00       $197.50
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/13/2024 - Document                  1.00         $250.00       $250.00
             Review/Data Analysis/Verification Work / Samantha Loewen




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Service      Texas Permanent Injunction - 12/13/2024 - Document                  0.50         $250.00       $125.00
             Review/Data Analysis/Verification Work / Gabrielle Steinwachs

Service      Texas Permanent Injunction - 12/14/2024 - Communication or          0.25         $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/14/2024 - Report and Document       0.75         $425.00       $318.75
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/14/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Diane Scott

Service      Texas Permanent Injunction - 12/16/2024 - Communication or          1.00         $325.00       $325.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/16/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/16/2024 - Communication or          0.25         $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/16/2024 - Document                  3.00         $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/16/2024 - Document                  0.50         $395.00       $197.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/16/2024 - Document                  2.75         $425.00     $1,168.75
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/16/2024 - Report and Document       0.75         $425.00       $318.75
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/16/2024 - Report and Document       0.50         $425.00       $212.50
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/16/2024 - Document                  1.50         $425.00       $637.50
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/16/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/16/2024 - Document                  3.00         $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/16/2024 - Project Management &      0.50         $395.00       $197.50
             Planning / Lisa Taylor

Service      Texas Permanent Injunction - 12/16/2024 - Document                  0.75         $425.00       $318.75
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/16/2024 - Communication or          0.25         $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/16/2024 - Communication or          0.50         $325.00       $162.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber




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Service      Texas Permanent Injunction - 12/16/2024 - Document                   4.00        $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/16/2024 - Document                   1.50        $325.00       $487.50
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/16/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/16/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/16/2024 - Document                   3.50        $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/16/2024 - Document                   2.50        $250.00       $625.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/16/2024 - Communication or           1.00        $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/16/2024 - Communication or           0.50        $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/16/2024 - Communication or           1.75        $395.00       $691.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/16/2024 - Report and Document        1.00        $395.00       $395.00
             Preparation / Megan Annitto

Service      Texas Permanent Injunction - 12/16/2024 - Document                   3.50        $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/16/2024 - Document                   1.25        $395.00       $493.75
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/16/2024 - Document                   1.00        $395.00       $395.00
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/16/2024 - Document                   1.25        $395.00       $493.75
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/16/2024 - Document                   2.75        $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/16/2024 - Document                   2.00        $395.00       $790.00
             Review/Data Analysis/Verification Work / Diane Scott

Service      Texas Permanent Injunction - 12/16/2024 - Document                   2.00        $395.00       $790.00
             Review/Data Analysis/Verification Work / Diane Scott

Service      Texas Permanent Injunction - 12/16/2024 - Communication or           1.00        $250.00       $250.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
             Nunez

Service      Texas Permanent Injunction - 12/16/2024 - Document                   1.25        $120.00       $150.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms

Service      Texas Permanent Injunction - 12/16/2024 - Document                   0.25        $120.00        $30.00
             Review/Data Analysis/Verification Work / Zsa Zsa Toms


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Service      Texas Permanent Injunction - 12/16/2024 - Document                     2.50      $395.00       $987.50
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/16/2024 - Communication or             0.25      $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Jill
             Lefkowitz

Service      Texas Permanent Injunction - 12/16/2024 - Document                     0.50      $120.00        $60.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/16/2024 - Document                     1.00      $120.00       $120.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/16/2024 - Communication or             0.25      $120.00        $30.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Daisy
             Longoria

Service      Texas Permanent Injunction - 12/16/2024 - Document                     0.50      $120.00        $60.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/16/2024 - Project Management &         0.50      $395.00       $197.50
             Planning / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/16/2024 - Document                     2.75      $250.00       $687.50
             Review/Data Analysis/Verification Work / Gabrielle Steinwachs

Service      Texas Permanent Injunction - 12/16/2024 - Document                     2.50      $250.00       $625.00
             Review/Data Analysis/Verification Work / Gabrielle Steinwachs

Service      Texas Permanent Injunction - 12/16/2024 - Communication or             0.25      $250.00        $62.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gabrielle
             Steinwachs

Service      Texas Permanent Injunction - 12/17/2024 - Communication or             1.00      $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
             Dunn

Service      Texas Permanent Injunction - 12/17/2024 - Communication or             1.00      $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/17/2024 - Communication or             0.25      $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/17/2024 - Communication or             0.25      $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/17/2024 - Communication or             0.25      $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
             Dunn

Service      Texas Permanent Injunction - 12/17/2024 - Document                     2.25      $395.00       $888.75
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/17/2024 - Document                     1.00      $395.00       $395.00
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/17/2024 - Document                     3.75      $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas




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Service      Texas Permanent Injunction - 12/17/2024 - Communication or            1.25       $395.00       $493.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Eileen
             Crummy

Service      Texas Permanent Injunction - 12/17/2024 - Communication or            1.25       $425.00       $531.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/17/2024 - Communication or            1.00       $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Claudia
             Tahan

Service      Texas Permanent Injunction - 12/17/2024 - Document                    2.50       $395.00       $987.50
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/17/2024 - Document                    3.50       $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/17/2024 - Document                    3.50       $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/17/2024 - Document                    4.00       $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/17/2024 - Document                    3.00       $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/17/2024 - Document                    3.50       $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/17/2024 - Document                    3.50       $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/17/2024 - Communication or            0.50       $425.00       $212.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/17/2024 - Document                    3.25       $425.00     $1,381.25
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/17/2024 - Communication or            1.00       $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Charlene
             Womack

Service      Texas Permanent Injunction - 12/17/2024 - Communication or            0.25       $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Charlene
             Womack

Service      Texas Permanent Injunction - 12/17/2024 - Document                    3.00       $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/17/2024 - Document                    2.75       $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/17/2024 - Document                    2.00       $395.00       $790.00
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/17/2024 - Document                    1.00       $395.00       $395.00
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/17/2024 - Document                    0.75       $395.00       $296.25
             Review/Data Analysis/Verification Work / Cheryl MacDougall




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Service      Texas Permanent Injunction - 12/17/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/17/2024 - Document                  0.75         $395.00       $296.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/17/2024 - Communication or          1.00         $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Jody
             Drebes

Service      Texas Permanent Injunction - 12/17/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/17/2024 - Document                  3.00         $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/17/2024 - Communication or          1.25         $395.00       $493.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Lisa
             Taylor

Service      Texas Permanent Injunction - 12/17/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/17/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/17/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/17/2024 - Document                  3.00         $325.00       $975.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/17/2024 - Communication or          1.50         $395.00       $592.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/17/2024 - Document                  1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/17/2024 - Document                  1.50         $250.00       $375.00
             Review/Data Analysis/Verification Work / Samantha Loewen

Service      Texas Permanent Injunction - 12/17/2024 - Communication or          0.25         $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Jill
             Lefkowitz

Service      Texas Permanent Injunction - 12/17/2024 - Document                  2.50         $395.00       $987.50
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/17/2024 - Document                  0.75         $120.00        $90.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/17/2024 - Project Management &      1.25         $395.00       $493.75
             Planning / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/18/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/18/2024 - Document                  0.50         $425.00       $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan




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Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.50        $325.00       $162.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.50        $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.50        $250.00       $125.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.50        $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/18/2024 - Document                   1.75        $395.00       $691.25
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.25        $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.50        $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Cheryl
             MacDougall

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.25        $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.25        $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
             Dunn

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.50        $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
             Dunn

Service      Texas Permanent Injunction - 12/18/2024 - Document                   3.75        $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/18/2024 - Document                   0.50        $395.00       $197.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           0.50        $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Claudia
             Tahan

Service      Texas Permanent Injunction - 12/18/2024 - Document                   3.00        $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/18/2024 - Document                   3.00        $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/18/2024 - Document                   0.50        $395.00       $197.50
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/18/2024 - Document                   4.00        $425.00     $1,700.00
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/18/2024 - Communication or           1.75        $425.00       $743.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan


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Service      Texas Permanent Injunction - 12/18/2024 - Document                    3.00       $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/18/2024 - Document                    4.00       $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/18/2024 - Document                    1.00       $395.00       $395.00
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/18/2024 - Document                    1.75       $395.00       $691.25
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/18/2024 - Communication or            0.50       $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Jody
             Drebes

Service      Texas Permanent Injunction - 12/18/2024 - Document                    3.50       $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/18/2024 - Communication or            0.50       $250.00       $125.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
             Nunez

Service      Texas Permanent Injunction - 12/18/2024 - Communication or            0.50       $250.00       $125.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
             Nunez

Service      Texas Permanent Injunction - 12/18/2024 - Document                    3.50       $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/18/2024 - Document                    2.50       $250.00       $625.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/18/2024 - Communication or            0.50       $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Charlene
             Womack

Service      Texas Permanent Injunction - 12/18/2024 - Document                    1.00       $395.00       $395.00
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/18/2024 - Document                    0.50       $395.00       $197.50
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/18/2024 - Document                    0.50       $395.00       $197.50
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/18/2024 - Document                    1.50       $395.00       $592.50
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/18/2024 - Communication or            0.25       $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Charlene
             Womack

Service      Texas Permanent Injunction - 12/18/2024 - Communication or            0.50       $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
             Dunn

Service      Texas Permanent Injunction - 12/18/2024 - Communication or            0.50       $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
             Dunn




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Service      Texas Permanent Injunction - 12/18/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
             Dunn

Service      Texas Permanent Injunction - 12/18/2024 - Document                  1.25         $395.00       $493.75
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/18/2024 - Document                  1.75         $395.00       $691.25
             Review/Data Analysis/Verification Work / Charlene Womack

Service      Texas Permanent Injunction - 12/18/2024 - Document                  2.25         $395.00       $888.75
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/18/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/18/2024 - Communication or          1.75         $395.00       $691.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/18/2024 - Document                  1.25         $395.00       $493.75
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/18/2024 - Document                  0.50         $395.00       $197.50
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/18/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/18/2024 - Document                  2.50         $325.00       $812.50
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/18/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
             Scott

Service      Texas Permanent Injunction - 12/18/2024 - Communication or          1.75         $395.00       $691.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
             Scott

Service      Texas Permanent Injunction - 12/18/2024 - Document                  2.00         $250.00       $500.00
             Review/Data Analysis/Verification Work / Samantha Loewen

Service      Texas Permanent Injunction - 12/18/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/18/2024 - Document                  0.50         $120.00        $60.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/18/2024 - Document                  0.50         $120.00        $60.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/18/2024 - Report and Document       4.00         $120.00       $480.00
             Preparation / Daisy Longoria

Service      Texas Permanent Injunction - 12/18/2024 - Document                  0.25         $250.00        $62.50
             Review/Data Analysis/Verification Work / Gabrielle Steinwachs

Service      Texas Permanent Injunction - 12/18/2024 - Document                  0.25         $250.00        $62.50
             Review/Data Analysis/Verification Work / Gabrielle Steinwachs

Service      Texas Permanent Injunction - 12/19/2024 - Document                  3.75         $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas


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Service      Texas Permanent Injunction - 12/19/2024 - Document                  3.00         $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/19/2024 - Communication or          0.25         $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/19/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/19/2024 - Document                  3.25         $395.00     $1,283.75
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/19/2024 - Communication or          0.25         $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Robin
             Dunn

Service      Texas Permanent Injunction - 12/19/2024 - Communication or          0.25         $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff /
             Charmaine Thomas

Service      Texas Permanent Injunction - 12/19/2024 - Document                  3.00         $395.00     $1,185.00
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/19/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/19/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/19/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/19/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/19/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/19/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/19/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Nadia Sexton

Service      Texas Permanent Injunction - 12/19/2024 - Document                  3.50         $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/19/2024 - Document                  3.50         $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/19/2024 - Communication or          0.50         $325.00       $162.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/19/2024 - Communication or          0.25         $325.00        $81.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/19/2024 - Communication or          1.00         $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto



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Service      Texas Permanent Injunction - 12/19/2024 - Project Management &      1.00         $395.00       $395.00
             Planning / Megan Annitto

Service      Texas Permanent Injunction - 12/19/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/19/2024 - Project Management &      0.50         $395.00       $197.50
             Planning / Megan Annitto

Service      Texas Permanent Injunction - 12/19/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/19/2024 - Document                  2.25         $325.00       $731.25
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/19/2024 - Document                  2.00         $250.00       $500.00
             Review/Data Analysis/Verification Work / Samantha Loewen

Service      Texas Permanent Injunction - 12/19/2024 - Document                  2.75         $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/19/2024 - Document                  0.50         $395.00       $197.50
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/19/2024 - Project Management &      0.75         $395.00       $296.25
             Planning / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/19/2024 - Report and Document       4.00         $120.00       $480.00
             Preparation / Daisy Longoria

Service      Texas Permanent Injunction - 12/19/2024 - Report and Document       1.75         $120.00       $210.00
             Preparation / Daisy Longoria

Service      Texas Permanent Injunction - 12/20/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/20/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/20/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/20/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/20/2024 - Document                  1.00         $425.00       $425.00
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/20/2024 - Document                  0.50         $425.00       $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/20/2024 - Document                  1.50         $425.00       $637.50
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/20/2024 - Project Management &      0.50         $425.00       $212.50
             Planning / Kevin Ryan

Service      Texas Permanent Injunction - 12/20/2024 - Document                  3.50         $250.00       $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez




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Service      Texas Permanent Injunction - 12/20/2024 - Document                   3.25        $250.00       $812.50
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/20/2024 - Communication or           0.25        $250.00        $62.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Natalie
             Nunez

Service      Texas Permanent Injunction - 12/20/2024 - Document                   0.50        $395.00       $197.50
             Review/Data Analysis/Verification Work / Eileen Crummy

Service      Texas Permanent Injunction - 12/20/2024 - Project Management &       0.50        $395.00       $197.50
             Planning / Lisa Taylor

Service      Texas Permanent Injunction - 12/20/2024 - Document                   7.00        $395.00     $2,765.00
             Review/Data Analysis/Verification Work / Jenny Paveglio

Service      Texas Permanent Injunction - 12/20/2024 - Communication or           0.50        $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / David
             Howard

Service      Texas Permanent Injunction - 12/20/2024 - Document                   3.25        $395.00     $1,283.75
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/20/2024 - Document                   4.00        $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/20/2024 - Communication or           0.50        $325.00       $162.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/20/2024 - Document                   2.50        $325.00       $812.50
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/20/2024 - Document                   1.50        $250.00       $375.00
             Review/Data Analysis/Verification Work / Samantha Loewen

Service      Texas Permanent Injunction - 12/20/2024 - Report and Document        1.50        $395.00       $592.50
             Preparation / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/20/2024 - Document                   0.75        $395.00       $296.25
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/20/2024 - Document                   0.50        $395.00       $197.50
             Review/Data Analysis/Verification Work / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/20/2024 - Document                   0.50        $250.00       $125.00
             Review/Data Analysis/Verification Work / Gabrielle Steinwachs

Service      Texas Permanent Injunction - 12/20/2024 - Report and Document        1.25        $120.00       $150.00
             Preparation / Daisy Longoria

Service      Texas Permanent Injunction - 12/20/2024 - Document                   2.25        $120.00       $270.00
             Review/Data Analysis/Verification Work / Daisy Longoria

Service      Texas Permanent Injunction - 12/20/2024 - Project Management &       2.00        $395.00       $790.00
             Planning / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/21/2024 - Document                   1.00        $395.00       $395.00
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/21/2024 - Document                   1.50        $395.00       $592.50
             Review/Data Analysis/Verification Work / Carlette Mack



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Service      Texas Permanent Injunction - 12/21/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/22/2024 - Document                  1.50         $425.00       $637.50
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/23/2024 - Document                  0.75         $425.00       $318.75
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/23/2024 - Communication or          0.25         $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/23/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/23/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/23/2024 - Document                  3.75         $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/23/2024 - Project Management &      0.50         $395.00       $197.50
             Planning / Lisa Taylor

Service      Texas Permanent Injunction - 12/23/2024 - Project Management &      2.50         $395.00       $987.50
             Planning / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/23/2024 - Project Management &      2.50         $395.00       $987.50
             Planning / Jill Lefkowitz

Service      Texas Permanent Injunction - 12/24/2024 - Report and Document       3.50         $425.00     $1,487.50
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/26/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/26/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Claudia Tahan

Service      Texas Permanent Injunction - 12/26/2024 - Document                  3.75         $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/26/2024 - Document                  1.25         $395.00       $493.75
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/26/2024 - Document                  2.75         $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/26/2024 - Communication or          0.75         $250.00       $187.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards

Service      Texas Permanent Injunction - 12/26/2024 - Communication or          5.25         $250.00     $1,312.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards

Service      Texas Permanent Injunction - 12/26/2024 - Document                  1.00         $250.00       $250.00
             Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service      Texas Permanent Injunction - 12/26/2024 - Communication or          0.25         $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan


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Service      Texas Permanent Injunction - 12/26/2024 - Project Management &      1.00         $425.00       $425.00
             Planning / Kevin Ryan

Service      Texas Permanent Injunction - 12/26/2024 - Document                  0.75         $425.00       $318.75
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/26/2024 - Document                  0.50         $425.00       $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/26/2024 - Report and Document       3.25         $425.00     $1,381.25
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/26/2024 - Communication or          0.75         $325.00       $243.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/26/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/26/2024 - Document                  2.25         $325.00       $731.25
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/26/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/26/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/26/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/26/2024 - Communication or          0.25         $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
             Scott

Service      Texas Permanent Injunction - 12/27/2024 - Document                  3.00         $325.00       $975.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/27/2024 - Document                  3.00         $325.00       $975.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/27/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/27/2024 - Communication or          1.00         $325.00       $325.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Melea
             Weber

Service      Texas Permanent Injunction - 12/27/2024 - Communication or          1.00         $395.00       $395.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/27/2024 - Document                  3.75         $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/27/2024 - Document                  2.75         $395.00     $1,086.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/27/2024 - Communication or          0.75         $250.00       $187.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards




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Service      Texas Permanent Injunction - 12/27/2024 - Communication or          0.25         $250.00        $62.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards

Service      Texas Permanent Injunction - 12/27/2024 - Document                  2.50         $250.00       $625.00
             Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service      Texas Permanent Injunction - 12/27/2024 - Document                  3.50         $250.00       $875.00
             Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service      Texas Permanent Injunction - 12/27/2024 - Document                  1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / Eileen Crummy

Service      Texas Permanent Injunction - 12/27/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Jody Drebes

Service      Texas Permanent Injunction - 12/27/2024 - Communication or          0.25         $425.00       $106.25
             Meeting with the Court, a party, Monitor/Monitors' Staff / Kevin
             Ryan

Service      Texas Permanent Injunction - 12/27/2024 - Document                  0.50         $425.00       $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/27/2024 - Report and Document       1.50         $425.00       $637.50
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/27/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/27/2024 - Communication or          1.25         $395.00       $493.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/27/2024 - Document                  0.75         $395.00       $296.25
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/28/2024 - Document                  0.50         $425.00       $212.50
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/28/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/28/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/30/2024 - Report and Document       2.75         $425.00     $1,168.75
             Preparation / Kevin Ryan

Service      Texas Permanent Injunction - 12/30/2024 - Document                  0.25         $425.00       $106.25
             Review/Data Analysis/Verification Work / Kevin Ryan

Service      Texas Permanent Injunction - 12/30/2024 - Document                  3.50         $395.00     $1,382.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/30/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Robin Dunn

Service      Texas Permanent Injunction - 12/30/2024 - Document                  4.00         $395.00     $1,580.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/30/2024 - Communication or          2.00         $395.00       $790.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto


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Service      Texas Permanent Injunction - 12/30/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Megan
             Annitto

Service      Texas Permanent Injunction - 12/30/2024 - Document                  3.75         $395.00     $1,481.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/30/2024 - Document                  1.50         $395.00       $592.50
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/30/2024 - Document                  1.75         $395.00       $691.25
             Review/Data Analysis/Verification Work / Charmaine Thomas

Service      Texas Permanent Injunction - 12/30/2024 - Communication or          0.25         $250.00        $62.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards

Service      Texas Permanent Injunction - 12/30/2024 - Communication or          0.50         $250.00       $125.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards

Service      Texas Permanent Injunction - 12/30/2024 - Communication or          0.50         $250.00       $125.00
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards

Service      Texas Permanent Injunction - 12/30/2024 - Document                  3.50         $250.00       $875.00
             Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service      Texas Permanent Injunction - 12/30/2024 - Document                  2.25         $250.00       $562.50
             Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service      Texas Permanent Injunction - 12/30/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/30/2024 - Document                  2.00         $395.00       $790.00
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/30/2024 - Document                  1.00         $395.00       $395.00
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/30/2024 - Document                  1.25         $395.00       $493.75
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/30/2024 - Document                  1.75         $395.00       $691.25
             Review/Data Analysis/Verification Work / David Howard

Service      Texas Permanent Injunction - 12/30/2024 - Communication or          0.50         $395.00       $197.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
             Scott

Service      Texas Permanent Injunction - 12/30/2024 - Communication or          0.25         $395.00        $98.75
             Meeting with the Court, a party, Monitor/Monitors' Staff / Diane
             Scott

Service      Texas Permanent Injunction - 12/30/2024 - Document                  0.50         $395.00       $197.50
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/31/2024 - Document                  7.00         $395.00     $2,765.00
             Review/Data Analysis/Verification Work / Jenny Paveglio

Service      Texas Permanent Injunction - 12/31/2024 - Document                  4.00         $325.00     $1,300.00
             Review/Data Analysis/Verification Work / Melea Weber




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Service      Texas Permanent Injunction - 12/31/2024 - Document                  2.00        $325.00        $650.00
             Review/Data Analysis/Verification Work / Melea Weber

Service      Texas Permanent Injunction - 12/31/2024 - Document                  3.50        $250.00        $875.00
             Review/Data Analysis/Verification Work / Natalie Nunez

Service      Texas Permanent Injunction - 12/31/2024 - Document                  2.50        $395.00        $987.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/31/2024 - Document                  1.50        $395.00        $592.50
             Review/Data Analysis/Verification Work / Cheryl MacDougall

Service      Texas Permanent Injunction - 12/31/2024 - Communication or          0.25        $250.00         $62.50
             Meeting with the Court, a party, Monitor/Monitors' Staff / Gianna
             Maita-Edwards

Service      Texas Permanent Injunction - 12/31/2024 - Document                  4.00        $250.00       $1,000.00
             Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service      Texas Permanent Injunction - 12/31/2024 - Document                  2.75        $250.00        $687.50
             Review/Data Analysis/Verification Work / Gianna Maita-Edwards

Service      Texas Permanent Injunction - 12/31/2024 - Document                  2.00        $395.00        $790.00
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/31/2024 - Document                  1.50        $395.00        $592.50
             Review/Data Analysis/Verification Work / Carlette Mack

Service      Texas Permanent Injunction - 12/31/2024 - Project Management &      0.75        $395.00        $296.25
             Planning / Megan Annitto

Service      Texas Permanent Injunction - 12/31/2024 - Project Management &      1.50        $395.00        $592.50
             Planning / Megan Annitto

Service      Texas Permanent Injunction - 12/31/2024 - Document                  2.00        $395.00        $790.00
             Review/Data Analysis/Verification Work / Megan Annitto

Service      Texas Permanent Injunction - 12/31/2024 - Document                  1.25        $395.00        $493.75
             Review/Data Analysis/Verification Work / Megan Annitto


                                                                                        Amount Due     $483,610.00




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